          Case 2:19-cv-00129-TOR                 ECF No. 1-3     filed 04/17/19   PageID.9 Page 1 of 21

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    4

    5             IN THE SUPERIOR COURT OF THE STATE OF WASHINGTON

    6                               IN AND FOR THE COUNTY OF SPOKANE
    7

    8
          MELISSA PAUL, a single woman,                               )
    9

10                                   Plaintiff                        )
                                                                          NO
                          VS.
                                                                          COMPLAINT FOR
12
           STATE OF WASHINGTON,                                           DAMAGES
13         WASHINGTON STATE PATROL,
           TROOPER JOSEPH LEIBRECHT,
14         individually, TROOPER JOSEPH
15         LEIBRECHT and JANE DOE LEIBRECHT,
          and the marital community.
16         composed thereof, TROOPER ROBERT
          SPENCER, individually, TROOPER
17
          ROBERT SPENCER and JANE DOE
18        SPENCER, and the marital community
          composed thereof, SGT. SCOTT DAVIS,
19        individually, SGT. SCOTT DAVIS and JANE
20        DOE DAVIS, and the marital community
          thereof, and DOES 1-10,
21
                                      Defendants.
22
23             COMES NOW the Plaintiff, Melissa Paul, by and through her attorneys Mark J.
24       Harris and William C. Maxey of Maxey Law Offices, PLLC, and Breean L. Beggs
25
         Paukert & Troppmann, PLLC, and complains and alleges as follows:
26

         COMPLAINT FOR DAMAGES - 1                                           MAXEY LAW OFFICES, PLLC
                                                                                183 5 West Broadway Avenue
                                                                                        Spokane, WA 99201
                                                                                              509-326-0338
                                                                                         Fax: 509-325-4490
     Case 2:19-cv-00129-TOR       ECF No. 1-3    filed 04/17/19   PageID.10 Page 2 of 21




                              IDENTIFICATION OF THE PARTIES
 2
        1. At all times material to this cause of action, Plaintiff Melissa Paul was a
 3
            resident of the State of Washington, County of Spokane.
 4

 5      2. At all times material to this cause of action, Defendant State of Washington is

 6          and was a governmental agency with direction and control of the Washington
 7
            State Patrol.
 8
        3. At all times material hereto, Defendant Joseph (Joe) Leibrecht was an agent and
 9

10          employee of the State, who, at the time of the events complained of herein, was

           acting within the course and `scope of his emp1oyment by—t Mate, and—u—
                                                                                 nder
12
           color of state law. Defendant Joseph Leibrecht is named in his individual and
13
           representative capacity.
14

15      4. That on information and belief, at all times material hereto, the defendants, Joseph

16         (Joe) Leibrecht and Jane Doe Leibrecht, are husband and wife, and comprise a
17
           marital community under the laws of the State of Washington. All acts performed
18
           hereinafter described were performed on behalf of said community, as well as
19

20         each individual.

21      5. At all times material hereto, Defendant Robert Spencer was an agent and
22
           employee of the State, who, at the time of the events complained of herein, was
23
           acting within the course and scope of his employment by the State, and under
24

25
           color of state law. Defendant Robert Spencer is named in his individual and

26         representative capacity.

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 1      6. That on information and belief, at all times material hereto, the defendants, Robert
 2
            Spencer and Jane Doe Spencer, are husband and wife, and comprise a marital
 3
            community under the laws of the State of Washington. All acts performed
 4

 5         hereinafter described were performed on behalf of said community, as well as

 6         each individual.
 7
        7. At all times material hereto, Defendant Sgt. Scott Davis was an agent and

           employee of the State, who, at the time of the events complained of herein, was
 9

10         acting within the course and scope of his employment by the State, and under

                  of state law. Un beliet; lletendant lllavis-was a supervrsmg o
12
           Defendants Leibrecht and Spencer. Defendant Davis is named in his individual
13
           and representative capacity.
14
15      8. That on information and belief, at all times material hereto, the defendants, Scott

16         Davis' and Jane Doe Davis, are husband and wife, and comprise a marital
17
           community under the laws of the State of Washington. All acts performed
18
           hereinafter described were performed on behalf of said community, as well as
19

20         each individual.

21      9. At all times material to this cause of action, upon information and belief,
22         Defendant Does 1-10 engaged in negligent or tortious conduct or otherwise
23
           wrongful conduct and thereby harmed Plaintiff. Plaintiff prays leave to amend
24

25
           this complaint once their identities become known.

26

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          1-0. Upon belief, at all relevant times described in this complaint, Defendant Does
 2
             1-10 were acting as employees and agents for the State of Washington within
 3
             the scope of their duties and under color of law.
 4

 5                                 JURISDICTION & VENUE

 6       11. All acts complained of occurred in Spokane County, Washington.
 7i
         12. Venue.is proper in the Superior Court for the State of Washington.

         13. Jurisdiction is proper in the Spokane County Superior Court pursuant to,
 9

10           without limitation, Title 42, United States Code §§ 1983 & 1988; Title 28 USC

11           §1331; 28 USC §1343(a)(3); 28 USC §1367.
12
         14. This court has personal and subject matter jurisdiction.
13
         15. An administrative claim pursuant to RCW 4.92 et seq was presented to the State
14

15           of Washington for causes of action under Washington State law. More than

16           sixty days have passed since the submission of the tort claim.
17
                       PRE-DISCOVERY FACTUAL ALLEGATIONS
18
         16. On January 1, 2017 at approximately 4:05 a.m., Plaintiff and her passenger,
19
20          Stephan A. Goodwin, were traveling westbound in her 2004 Toyota 4 Runner

21          on Highway 2 towards Airway Heights, WA. It was dark and was snowing.
22          The traffic lane lines were obscured -due to snow/ice conditions.
23
         17. At the approximate same time, Ty Olds was riding or walking his bicycle
24

25
            alongside the busy highway in said dark and wintery conditions. Mr. Olds was

26

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 1          wearing dark blue jeans and a dark jacket. Plaintiff did not see Mr. Olds and
 2
            struck him. Unfortunately, Mr. Olds died.
 3
        18. The forensic toxicology results of Mr. Olds showed: Methamphetamine: 2.2
 4

 5         mg/L. Amphetamine: 0.22 mg/L.

 6      19. This methamphetamine level is extremely high and associated with adverse'i
 7
           effects and irrational behaviors and/or actions.
 8
        20. At approximately 4:40 am, Washington State Patrol (WSP) Trooper Joe
 9

10         Leibrecht arrived on the scene and contacted Plaintiff. Trooper Leibrecht


12
           it   was coming from. Plaintiff's passenger, Mr. Goodwin, advised the trooper
13
           that he had been drinking and that Plaintiff was his designated driver.
14

15      21. Between approximately 4:54 a.m. and 5:01 a.m., Plaintiff agreed to and Trooper

16         Leibrecht performed the standardized field sobriety tests (FST) including
17
           Horizontal Gaze Nystagmus (HGI), Walk and Turn, One Leg Stand, and a test
18
           where Claimant was asked to estimate the passage of 30 seconds. .
19

20
        22. Trooper Leibrecht reported the following: "nothing on FST's"; No HGN; 28/30

21         seconds time perception; "I do not see impairment"; "No obvious signs of
22
           impairment was observed"; Performed FST's satisfactorily on packed snow/ice
23
           roadway area.
24

25
        23. The encounter between WSP troopers and Plaintiff was captured by law

26         enforcement dash cam video. At approximately 5:03 a.m., two troopers are

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-
    1          heard on video having a discussion about impairment. One says that he does
    2
               not see any impairment, that he thought he smelled alcohol, but does not think it
    3
               was Plaintiff. The troopers decided that based on the lack of impairment, that a
    4

    5         Portable Breath Test (PBT) would not be administered.

    6      24. Trooper Spencer got into the patrol car with Plaintiff to see if he could smell
    7
              alcohol and did not. At approximately 5:07 a.m., Trooper Leibrecht made a

              phone call and can be heard saying that Plaintiff was not impaired, the FST's

101
  ",          were satisfactory so he was not going to proceed further.

             i. At approximately 6 a.m. Sgt. Davis arrived afP am i s oca on an
12
              Trooper Spencer to-perform FST's on Plaintiff again. Plaintiff agreed. Troop(
13
              Spencer administered the tests with no nystagmus or signs of impairment.
14

15         26. As can be heard in the video, the troopers again discussed the issue of

16            impairment following the second FST's. Statements by the troopers include the
17
              same or similar to those that follow can be heard from the officers in the video:
18
              "There was no HGN;" "She nailed the walk and turn;" "I don't know how I am
19

20            going to get a warrant;" "I don't know how we will get probable cause."

21         27. After Plaintiff successfully and satisfactorily completed the FST's for the
22
              second time, Trooper Spencer approached her with a Portable Breath Test
23
              (PBT) and instructed her to blow. The PBT was .067, which is below the legal
24

25            limit of alcohol influence in Washington.

26

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        28. There was no explanation given to Plaintiff that the PBT was voluntary or what
 2
            the test was for as required by Washington Administrative Code (WAC) 448-
 3
            15-030, which provides in pertinent part: The operator must perform the test
 4

 5          according to the policies and procedures approved by the state toxicologist,

 6         using the following test protocol:
 7
                   (1) The operator will advise the subject that this is a voluntary
 8                     test, and that it is not an alternative to any evidential
                       breath alcohol test.
 9

10      29. Further, there was also a lack of probable cause to administer the PBT. As

           discussed above, Plaintiff passed the FST's twice and both times troopers are
12
           heard on the video discussing how Plaintiff had done well on the tests, and that
13
           they were concerned about how to get a blood warrant.
14

15      30. In addition to successfully performing the FST's, Plaintiff (as can be heard and

16         seen in the video) is speaking coherently with the troopers throughout.
17
        31. Following the PBT, Sgt. Davis instructed Trooper Spencer to apply for a blood
18
           warrant to take Plaintiff's blood. Trooper Spencer submitted an affidavit for a
19

20
           blood warrant which was signed by Spokane County Superior Court Judge

21         Annette Plese based on Trooper Spencer's sworn affidavit.
22
        32. The evidence from the video refutes a number of statements contained in and
23
           omitted from the affidavit for the blood warrant:
24

25
           a. The warrant affidavit falsely indicates/implies Claimant made errors on the

26            Walk and Turn and the One Leg Stand being performed at the direction of

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                Trooper Leibrecht. The video does not show errors. The affidavit neglects
 2
                to state that Plaintiff passed the Rhomberg balance test. The affidavit does
 3
                not reflect Trooper Leibrecht's belief, as clearly stated in. the video, that Ms.
 4

 5i             Paul had passed and performed the FST's satisfactorily.

 6          b. The affidavit states that Trooper Spencer could smell alcohol as Plai
 7
                stood in front of him. On the video,. Trooper Spencer states that he might

                smell a slight odor of intoxicants, but states "there is no nystagmus, looks
 9

10              good."

            c.- I' e a fi-davi`t— oes no men ion-th~Trooper Spencer
12
               when he was in the patrol car with Plaintiff.
13
            d. The affidavit for the warrant falsely indicates/implies that Plaintiff made
14
15             errors on the Walk and Turn and the One Leg Stand being performed at the

16             direction of Trooper Spencer, but the video shows she performed the tests
17
               satisfactorily for the troopers. And, the subsequent discussion between the
18
               troopers as described herein above is contrary to what is stated in the
19
20             affidavit.

21          e. The video demonstrates that false statements regarding whether or not
22             Plaintiff smelled of alcohol were included in the affidavit. Statements made
23
               by the troopers in the video are overwhelmingly in favor of Plaintiff not
24

25             showing signs of impairment. The video also contradicts what is said in the

26             affidavit regarding Plaintiff's FST performances.

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      -- - _ . The troopers further did not tell the Judge in the affidavit for, the bloo
 2
               warrant of the improper administration of the PBT.
 3
        33. Similar contradictions and falsehoods are contained in and omitted from the
 4
 5          Probable Cause Affidavit signed by Trooper Spencer, which was used to charge

 6          Plaintiff with crimes.
 7
        34. Upon belief, the administration of the PBT and the false and/or misleading facts,
 8
            provided in the affidavit were made to get judicial permission for the troopers
 9
10          to investigate their incorrect `hunch' that Plaintiff was impaired given the


12
        35. Upon belief, the troopers, including, without limitation, Defendants Leibrecht,
13
           Spencer, and Davis, as reflected in the conversations heard on the video and
14
15         discussed herein above, entered into a conspiracy, thereby agreeing to prosecute

16         Plaintiff, even though they lacked probable cause for same,. and even though it
17
           was obvious to them that Plaintiff was not legally impaired.
18
        36. Upon belief, the troopers, including, without limitation, Defendants Leibrecht,
19
20         Spencer, and Davis, as reflected in the conversations heard on the video and

21         discussed_ herein above, entered into a conspiracy to prosecute Plaintiff by
22
           knowingly or recklessly swearing to a factually false and/or misleading
23
           affidavit of probable cause to obtain a blood warrant, and by further agreeing to
24
25         submit the probable cause affidavit used to charge Plaintiff.

26

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     -- 37. Plaintiff was arrested and charged with vie iicular homicide and booked into the
 2
            Spokane County Jail where she was strip searched and initially held on a
 3
            $150,000 bond which she could not post, thus resulting in a lengthy pre-trial
 4

 5         incarceration despite the presumption of innocence.

 6      38. On or about December 19, 2017, the State of Washington submitted the
 7
           following stipulated pertinent Findings of Fact to the Spokane County Superior'

           Court which were signed by two Superior Court Judges:
 9

10                - On November 30, 2017, defense counsel moved to suppress the
                      Preliminary Breath Test (PBT) and blood draw warrant based on
                  --T-rank-s--v.--Delaware,
                                -           -43-8--U.-S-
                                                       .--1-54-(-1-97-8).—Eicludedi zr~exhibits
                      were the Probable Cause Affidavit and dash camera videos the
12
                      officers present at the scene.
13
                     The PBT is inadmissible for purposes of obtaining a search warrant
14                   for blood because the required protocols under WAC 448-15-030
15                   were not followed when administering the test to Ms. Paul.

16                - The facts provided in the probable cause affidavit are not supported
                     by the conversations between the officers on the scene, as contained
17
                     and readily observable in the dash camera videos.
18
                  - Absent the PBT result, the facts supporting probable cause do not rise
19                  to the level of impairment.
20
                  - Because impairment cannot be established by the probable cause
21                   affidavit, the warrant for blood is therefore invalid.
22
                  - Impairment is the only prong pursuant to which the State could
23                   proceed with the prosecution of this matter. Aside from impairment,
                     there are no other available grounds to support further action.
24
25
26

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-    1      39. Superior Court Judges Annette Plese and Judge James Triplet thereafter signed
     2
                orders dismissing the criminal case against Plaintiff with prejudice.
     3
            40.Plaintiff spent approximately three (3) months in jail solely on the charges'
     4

     5          arising from the false and misleading affidavit prior to the order of dismissal.

     6                  CAUSES OF ACTION UNDER 42 USE SECTION 1983
     7
         Unlawful Seizure/ False Arrest Tinder the Fourth Amendment:

            41. The preceding paragraphs are incorporated herein by reference as though fully
     9

    10         set forth.


    12
               or acting in concert, constituted an unlawful seizure and arrest of Plaintiff
    13
               within the meaning of the Fourth Amendment of the United States Constitution.
    14

    15      43. The seizure was unreasonable and without probable cause in that the facts and

    16         circumstances available to the Defendants would not warrant a prudent officer
    17
               in believing that Plaintiff was legally impaired and/or had committed a crime.
    18
            44. The seizure was unreasonable and without probable cause in. that the
    19

    20         Defendants administered the PBT unlawfully and without probable cause.

    21      45. The arrest and seizure of Plaintiff was unlawful because it lacked probable
    22
               cause.
    23
            46. As a proximate cause of the unlawful seizure and arrest affected upon Plaintiff,
    24

    25         the Plaintiff suffered injuries and damages as stated hereinafter.

    26

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     False Imprisonment Violation Under the Fourth Amendment:

 2      47. The preceding paragraphs are incorporated herein by reference as though fully
 3
            set forth.
 4
 5      48. Defendants Leibrecht, Spencer, and Davis either individually, or acting in

 6          concert, subjected Plaintiff to false imprisonment in violation of her Fourth
 7
           Amendment rights.

        49. Defendants deliberately, knowingly, and/or recklessly sought a warrant based
 9
10         on misleading information and deliberately arrested, and thereafter deliberately

                                     PR
                                      O


12
        50. Said detention was unlawful because it lacked probable cause.
13
        51. As a proximate cause of the unlawful imprisonment affected upon Plaintiff, the
14

15         Plaintiff suffered injuries and damages as stated hereinafter.

16   Malicious Prosecution Violation Under the Fourth Amendment:
17
        52. The preceding paragraphs are incorporated herein by reference as though fully
18
           set forth.
19
20      53. Plaintiff was falsely charged of vehicular homicide under Washington law by

21         the acts and the knowingly or reckless preparation false/misleading affidavit
22         filings of Defendants Leibrecht, Spencer, and Davis, either individually, or
23
           acting in concert.
24

25

26

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               54. On or about December 19, 2017, the Washington State Superior Court issued',

   2              the following Findings of Fact and dismissed Plaintiff's criminal case with
   3
                  prejudice:
   4
   5               - On November 30, 2017, defense counsel moved to suppress the
                      Preliminary Breath Test (PBT) and blood draw warrant based on Franks v.
   6                  Delaware, 438 U.S. 154 (1978). Included in the exhibits were the Probable
   7                  Cause Affidavit and dash camera videos the officers present at the scene.

                  - The PBT is inadmissible for purposes of obtaining a search warrant for
                     blood because the required protocols under WAC 448-15-030 were not
   9                 followed when administering the test to Ms. Paul.
  10
       -          -     -The-facts-provided-in the probable cause affidavit are not supported by the
__T1                  conversations between the officers on the scene, as contained and readily
 12                   observable in the dash camera videos.

  13              -   Absent the PBT result, the facts supporting probable cause do not rise to
                      the level of impairment.
  14
 15               -   Because impairment cannot be established by the probable cause affidavit,
                      the warrant for blood is therefore invalid.
 16
                  -   Impairment is the only prong pursuant to which the State could proceed
 17                   with the prosecution of this matter. Aside from impairment, there are no
 18                   other available grounds to support further action.
 19           55. The Defendants, acting in concert, violated Plaintiff's Fourth Amendment
 20
                 rights by wrongfully initiating the prosecution of Plaintiff for the above-
 21
                 referenced crime(s). The Defendants lacked probable cause to initiate said
 22
 23              criminal action against Plaintiff.
 24           56. Defendants' conduct resulted in the arrest and prosecution of Plaintiff without
 25
                 probable cause.,
 26

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        - 57. The criminal proceeding in the case ended in Plaintiff's favor.

  2       58. As a proximate cause of Defendants' conduct, Plaintiff suffered injuries and
  3
             damages as stated hereinafter.
  4
  5   Excessive Force Linder the Fourth Amendment:

  6      59. The preceding paragraphs are incorporated herein by reference as though fully

  7          set forth.

         60. Defendants' actions and omissions, either individually or acting in concert,
 9
'10          violated Plaintiff's constitutionally protected right to be free from excessive

                                              seizures
12
             Constitution.
13
         61. As a proximate cause of Defendants' conduct, Plaintiff suffered injuries and
14

15          damages as stated hereinafter.

16    Supervisory Liability Against Defendant Sgt. Davis:
17       62. The preceding paragraphs are incorporated herein by reference as though fully
18
            set forth.
19
20
         63. On information and belief, Defendant Sgt. Davis exercised supervisory

21          authority over Defendants Leibrecht and Spencer, his subordinates.
22
         64. Defendant Davis directed Defendant Spencer to administer the PBT
23
            notwithstanding knowing probable cause did not support the PBT. On belief,
24

25
            Defendant Davis knew Defendant Spencer administered the PBT in violation of

26

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 T      -      the WAC. Defendant Davis directed his subordinates) to act in violation
 2
               Plaintiffs constitutional rights.
 3
            65. Defendant Davis directed Defendant Spencer to apply for a blood warrant
 4

 5             notwithstanding the non-impairment discussions with the troopers, Plaintiffs

 6             favorable FST's, and the unlawful PBT. Defendant Davis directed his j
 7
               subordinate(s) to act in violation of Plaintiff's constitutional rights.

            66. Defendant Davis knew that the affidavit(s) submitted by his subordinate(s)

               contained knowing or reckless false and/or misleading statements used to


12
               unlawful action; and/or consented, agreed, or acquiesced to the constitutional
13
               violation.
14

15      67. Defendant Davis knew his subordinate(s) was/were engaged in violation

16             Plaintiff's constitutional rights and was deliberately indifferent to his
17
              subordinate(s) actions.
18
        68. As a proximate cause of Defendant Davis' conduct, Plaintiff sustained, injuries
19

20
              and damages discussed hereinafter.

21   Civil Conspiracy Against Defendants Davis, Leibrecht and Spencer:
22
        69. The preceding paragraphs are incorporated herein by reference as though fully
23
              set forth.
24

25
26

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         70. Defendants, in -concert, participated -in a conspiracy to violate Plaintiff's
 2
            constitutional rights in that they deliberately caused the un-constitutional arrest,
 3
            prosecution and detention of Plaintiff.
 4

 5       71. Defendants' conspiratorial acts included, without limitation, aiding and abetting

 6          each other in knowingly and/or recklessly administering the PBT unlawfully
 7
            and knowingly and/or recklessly swearing out false and/or misleading probable

            cause affidavits when probable cause of impairment did not exist.
 9

10      72. As a proximate cause of Defendant Davis' conduct, Plaintiff sustained injuries


12
                             STATE LAW CAUSES OF ACTION
13
     Unlawful Imprisonment:
14

15      73. The preceding paragraphs are incorporated herein by reference as though fully

16         set forth.
17
        74. The conduct of the Defendants, and each of them, resulted in the intentional
18
           confinement of Plaintiff's person, which was unjustified under the
19

20
           circumstances and unlawful.

21      75. Defendants' conduct toward Plaintiff constitutes unlawful imprisonment.
22
        76. As a direct and proximate result of Defendants' conduct, Plaintiff sustained
23
           injuries and damages, discussed more fully hereinafter.
24

25

26

     COMPLAINT FOR DAMAGES - 16                                   MAXEY LAW OFFICES, PLLC
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            - False Arrest: -                                                                             -   -
        2
                 77. The preceding paragraphs are incorporated herein by reference as though fully
        3
                    set forth.
        4

        5        78. Defendants' conduct resulted in the unlawful arrest of Plaintiff.

        6       79. Defendants' conduct constitutes false arrest.

        7       80. As a direct and proximate result of Defendants' conduct, Plaintiff sustained
        8
                    injuries and damages, discussed more fully hereinafter.
        9
       10 Malicious Prosecution:

--   -~-1       8 rThe prece ins para~rap s axe incomorated herein v re erence as out llv
       12
                    set forth.
       13
                82. Defendants' conduct resulted in the arrest and prosecution of Plaintiff without
       14
       15           probable cause.

       16       83. Defendants' conduct constitutes malicious prosecution under the laws of
       17
                    Washington State.
       18
                84. As a direct and proximate result of Defendants' conduct, Plaintiff sustained
       19
      20            injuries and damages, discussed more fully hereinafter.

      21     Infliction of Emotional Distress:
      22        85. Plaintiff incorporates herein the allegations contained in the preceding
      23
                   paragraphs of this complaint.
      24
      25
      26

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        -86 Defendants, and each of- them, 'engaged -in conduct which constitutes negligent
 2
           infliction, of emotional distress or, alternatively, intentional infliction of
 3
            emotional distress (outrage).
 4
 5      87. As a direct and proximate result of Defendants' conduct, Plaintiff sustained

 6         injuries and damages, discussed more fully hereinafter.
 7
     Assault & Battery:
 8
        88. Plaintiff incorporates herein the allegations contained in the preceding
 9
10         paragraphs of this complaint.


12
           force against Plaintiff.
13
        90. The acts Defendants were made with intent to cause harmful or offensive
14
15         contact or an apprehension by Plaintiff of such contact.

16      91. Defendants conduct towards Plaintiff constitutes assault and battery.
17      92. As a direct and proximate result of Defendants' conduct, Plaintiff sustained
18
           injuries and damages, discussed more fully hereinafter.
19
20   Negligence/. Tortious Conduct:

21      93.Plaintiff incorporates herein the allegations contained in the preceding
22         paragraphs of this complaint.
23
        94. At all times material hereto, Plaintiff was owed several duties of care by
24
           Defendants, and each of them, including, but not by way of limitation, those
25
26         duties include one or more of the following:

     COMPLAINT FOR DAMAGES -18                                   AL XEY LAW OFFICES, PLLC'
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             a.- The duty to be free from a negligent; unwarrante an or aw vio
 2
                 of his right of personal liberty;
 3
             b. The duty to have probable cause to effectuate an arrest and detention of an
 4

 5               individual;

 6           c. The duty to be free from restraint, detention and force without legal
 7
                 authority;
 8
             d. The duty to be free from unwarranted/ unlawful imprisonment; and/or,

 1           e. The duty of State officers, agents and employees to act and exercise the

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12
                circumstances.
13
         95. Defendants' conduct constitutes recklessness, gross negligence and/or
14

15          negligence under the laws of the State of Washington.

16       96. As a direct and proximate result of Defendants' tortious conduct (under both
17           State law and 42 USC Sec. 1983), Plaintiff sustained injuries and damages,
18
            discussed more fully hereinafter.
19
20                                      INJURIES & DAMAGES

21       97. As a direct and proximate result of the facts as alleged herein, Plaintiff has
22          suffered and will in the fixture continue to suffer the loss of enjoyment of life,
23
            pain, mental anguish, mental injury and suffering and other injuries.
24
         98. As a further direct and proximate result of the facts as alleged herein, Plaintiff
25
26          is entitled to damages in an amount to be proven at the time of trial.

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         -   99.- As a direct and proximate result -of the-facts-as alleged herein, Plaintiff incurred
 2
                other out-of-pocket expenses and other expenses associated with these injuries,
 3
                the amount of which to be proven at the time of trial.
 4
 5        100.          As a farther direct and proximate result of the occurrence alleged herein,

 6              Plaintiff has sustained an impaired earning ability as well' as past and future lost

 7              wages in an amount to be proven at the time of trial.
 8
         101.          As a further direct and proximate result of the occurrence alleged herein,
 9
10              Defendants', and each of them, actions in depriving Plaintiff of her federal civil


12
                oppressively, and/or with reckless indifference, subjecting the Defendants to
13
                liability for punitive damages in an amount to be proven at trial.
14
15                                       PRAYER FOR RELIEF

16              Plaintiff, Melissa Paul, requests a judgment against Defendants, and each of
17
     I them, jointly and severally, as follows:
18
         A. General damages in an amount to be determine at trial.
19
20       B. Special damages in an amount to be determined at trial.

21       C:' Punitive and exemplary damages in an amount deemed just and reasonable as)
22
               provided by law.
23
         D. Plaintiff's reasonable attorney's fees and costs, pursuant to 42 USC § 1988, or
24
25             as otherwise provided by law.

26       E. For such other and farther relief as the court deems just-and equitable.

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                                                         - -
           -DATED this 28"' day of February, 2019.                    -
 2
                                     PAUKERT & TROPPMANN, PLLC
 3

 4


                                     BREEAN /L. BEGCr , WSBcA #20795
 6
 7                                   MAXEY LAW JFFI -B S.

 8


10                                   WILLIAM C.UAXEY W' s
 _                                   MARK J. HARRIS SBA #31720

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     COMPLAINT FOR DAMAGES - 21                              ALA EY LAW OFFICES, PLLC
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